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     Attorney(s) for Plaintiff Rothschild Broadcast Distribution, LLC
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13
                     IN THE UNITED STATES DISTRICT COURT
14                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION
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16
      ROTHSCHILD BROADCAST
      DISTRIBUTION, LLC,
                                                       Case No. 3:20-cv-03333-RS
17
                          Plaintiff,
18
      v.                                                 NOTICE OF VOLUNTARY
19

20    UBISOFT, INC.,                            ,                 DISMISSAL

21                        Defendant.
22

23

24                 Plaintiff Rothschild Broadcast Distribution, LLC hereby files this Notice
25
     of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
26

27   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be

28   dismissed by the plaintiff without order of court by filing a notice of dismissal at any
                                                1
                                  NOTICE OF VOLUNTARY DISMISSAL
        Case 3:20-cv-03333-RS Document 20 Filed 09/25/20 Page 2 of 2




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     time before service by the adverse party of an answer. Accordingly, Rothschild

2    Broadcast Distribution, LLC hereby voluntarily dismisses this action against Ubisoft,
3
     Inc. without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own
4

5
     fees and costs.

6
     Dated: September 25, 2020              Respectfully submitted,
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8
                                            /s/ Jay Johnson
9
                                            Jay Johnson
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                                 NOTICE OF VOLUNTARY DISMISSAL
